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       a Delaware Corporation & Richard Blech, an Individual.
 7

 8                                 UNITED STATES DISTRICT COURT
 9
                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
       SECURE CHANNELS, INC., a California            ) CASE NO: 8:17-CV-1148
12     Corporation; SECURE CHANNELS INC., a           ) The Hon. James V. Selma
                                                      ) PLAINTIFFS’ MEMORANDUM OF
13     Delaware Corporation; Richard Blech, an        )
       Individual,                                    ) POINTS AND AUTHORITIES IN
14            PLAINTIFFS,                             ) OPPOSITION TO DEFENDANTS’
                                                      ) MOTION TO DISMISS PLAINTIFFS’
15
                      vs.                             ) COMPLAINT PURSUANT TO FRCP
                                                      ) 12(B)(6)
16                                                    )
       ADRIAN PLESHA, an Individual;                  ) JURY TRIAL DEMANDED
17     ANTONELLI WOZNY PLESHA & CAMPA )
       LLC, a Florida, Limited Liability Company )
18                                                    )
       and DOES 1 through 100, inclusive,             ) Hearing Date: January 29, 2018
19            DEFENDANTS.                             ) Time: 1:30 p.m.
                                                      ) Courtroom: 10C
20                                                    )
                                                      )
21            Plaintiffs respectfully submit this Opposition to Defendants’ Motion to Dismiss Pursuant
22
       to Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief could be
23
       granted.
24

25

26

27

28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 9     Migra v. Warren City School District Board of Education et al., 465 U.S. 75 (1984)……..…...12
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 1            Plaintiffs, Secure Channels, Inc., a California Corporation; Secure Channels, Inc., a
 2
       Delaware Corporation; Richard Blech, an Individual (collectively, “Plaintiffs”) have plead
 3
       sufficient facts to state a claim under all the causes of action pled in the First Amended
 4

 5
       Complaint (hereinafter “FAC”). For the reasons set forth below, Plaintiffs request this Court to

 6     deny the Motion to Dismiss Plaintiffs’ First Amended Complaint in its entirety.
 7            Plaintiffs filed its Complaint July 6, 2017. On August 6, 2017 Plaintiffs’ filed a First
 8
       Amended Complaint.
 9
              Plaintiffs’ FAC alleges that Defendant Plesha made the following false statements on his
10

11     behalf as an individual and on behalf of Antonelli Wozny, Plesha & Campa LLC:

12                •   PLESHA stated that he was a lobbyist in the firm Antonelli Wozny Plesha &
13
                      Campa LLC;
14
                  •   That Plesha was a partner in the firm of Antonelli Wozny Plesha & Campa;
15

16                •   That Plesha could make Plaintiffs “a lot of money”;

17                •   That he had connections to Congressman;
18
                  •   That if Plaintiffs would give perks to government officials then Defendants could
19
                      get them access to government contracts worth millions of dollars to Plaintiffs;
20

21                •   That there was a “pay to play” game in Washington and everything was legal

22                    because Defendants were lobbyists;
23
                  •   That Defendants attained access to government contracts for many other
24
                      companies;
25

26
                  •   That Defendants had attained government contracts for Sunflower Wind;

27                •   That Defendants knew that the representations were false;
28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1                •   That Plaintiffs did not know the representations were false and believed them to
 2
                      be true;
 3
                  •   Plaintiffs acted in justifiable reliance;
 4

 5                •   That as a direct and proximate result of the conduct, Plaintiffs were harmed;

 6                •   All of the above representations, upon information and belief are false;
 7
                  •   Defendant PLESHA knew that the representations were false;
 8
                  •   Defendant PLESHA, acting as an agent, partner, representative, affiliate,
 9

10                    employee, alter ego, or co-conspirator of each and every other Defendant made

11                    the false representations with the express purpose and intent to defraud and induce
12
                      SCIC through its President & CEO BLECH to act on the offer made to perform
13
                      lobbying services;
14

15
                  •   At the time, the PLAINTIFFS acted PLAINTIFFS did not know the

16                    representations were false and believed they were true. SCIC through its President
17                    & CEO BLECH acted in justifiable reliance of the false information by sending
18
                      an email coming to an agreement in principle;
19
                  •   As a direct and proximate result thereof, PLAINTIFFS were damaged;
20

21                •   As a result of their conduct, defendants are liable to PLAINTIFFS for punitive
22                    damages.
23
              The FAC contains all this and more in page after page of detailed allegations. Under any
24
       reading of the applicable standard requiring particularity, Plaintiffs meets and exceeds their
25

26     pleading allegations.

27

28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                          5
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 1             Nevertheless, Defendants have moved to dismiss this FAC, claiming that the FAC
 2
       complaint should be barred by a duly executed settlement agreement and the claims in the FAC
 3
       have been rejected by a jury verdict in favor of defendant in state court.
 4

 5
               To support its argument, Defendants ignores the legal standard governing 12(b)(6)

 6     Motions to Dismiss for failing to state a claim, quotes selectively and incorrectly from the prior
 7     state court case, and disregards inconvenient facts. In addition, Defendants incorrectly use
 8
       Federal Rule of Civil Procedure 13(a) in their principal analysis instead of California Code of
 9
       Civil Procedure § 426.30. Further, it resorts to smearing Plaintiffs by making blatant and
10

11     groundless accusations about them.

12                                                   II. ARGUMENT
13
               A. APPLICABLE LEGAL STANDARDS
14
               In seeking a dismissal for failure to state a claim pursuant to Rule 12(b)(6), the Plaintiffs
15
       bear a heavy burden. A court may grant such a dismissal only where the plaintiff fails to present
16

17     a cognizable legal theory or fails to allege sufficient facts to support a cognizable legal theory.
18     Shroyer v. New Cingular Wireless Sers., Inc., 622 F.3d 1035, 1041 (9th Cir. 2010) (quoting
19
       Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001)). In following Bell Atlantic Corp. v.
20
       Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, 556 U.S. 662 (2009), to survive a motion
21

22     to dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a claim to

23     relief that is plausible on its face. Iqbal, 556 U.S. at 678 (citation omitted). “All allegations of
24
       material fact in the complaint are taken as true and construed in the light mist favorable to the
25
       plaintiff.” Williams v. Gerber Prods. Co., 552 F.3d 934, 937 (9th Cir. 2008). “A claim has facial
26
       plausibility when the plaintiff pleads factual content that allows the court to draw reasonable
27

28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1     inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S.
 2
       662, 678, 129 S. Ct. 1937, 173 L.Ed. 2d 868 (2009). “The plausibility standard is not akin to a
 3
       ‘probability requirement’ but it asks for more than a sheer possibility that a defendant has acted
 4

 5
       unlawfully” or “facts that are ‘merely consistent with a defendant’s liability.” Id.

 6               In evaluating the sufficiency of a complaint, courts must accept all factual allegations as
 7     true. Iqbal, 556 U.S. at 678 129 S. Ct. at 1949 (citing Twombly, 550 U.S. at 555, 127 S. Ct. at
 8
       1964).
 9
                 B. THE DEFENDANTS MOTION TO DISMISS PLAINTIFFS’ COMPLAINT
10

11     PURSUANT TO FRCP 12(B)(6) IS MOOT BECAUSE DEFENDANTS FILED A FIRST

12     AMENDED COMPLAINT
13
                 Plaintiffs filed its Complaint July 6, 2017. On August 6, 2017 Plaintiffs’ filed a First
14
       Amended Complaint. Therefore, this motion is moot and should be denied.
15
                 C. DEFENDANTS FAILED TO FOLLOW LOCAL RULE 7-3
16

17               Defendants contend that Plaintiffs’ counsel has failed to respond to multiple attempts to
18     schedule this required conference. Defendants attempt to mislead the court with this statement.
19
       Plaintiffs’ counsel has never received a telephone call, email, fax or any communication from
20
       Defendants prior to them filing this motion except the motion and amended motion by U.S. mail.
21

22     This statement is an attempt to circumvent Local Rule 7-3. Upon my information and belief, it is

23     a false statement designed to mislead the court. On the basis that the Court previously warned
24
       Defendants about this rule and Defendants have chosen not to follow it this motion should be
25
       denied.
26

27

28                   PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1            D. THE JULY 2, 2015 PURPORTED SETTLEMENT AGREEMENT DOES NOT
 2
       BAR PLAINTIFFS CLAIMS
 3
              Defendants contend that the purported settlement agreement dated July 2, 2015 prevents
 4

 5
       Plaintiffs from asserting this lawsuit. However, they cite no case law or statutory law to support

 6     that position. Defendants rely on Osumi v. Sutton, 60 Cal. Rptr. 3d 693, 696 for the proposition
 7     that settlement agreements are enforceable. No evidentiary support is provided that even if a
 8
       valid settlement agreement was in place that Plaintiffs are barred from filing this lawsuit.
 9
       Contrary to what Defendants assert that proposition does not end the discussion. (Defendants
10

11     Points and Authorities in Support of Motion to Dismiss Plaintiff’s Complaint Pursuant to

12     FRCP(12)(B)(6) Page 3 Line 26.)
13
              E. PLAINTIFFS CLAIMS ARE NOT BARRED BY RES JUDICATA OR CLAIM
14
       PRECLUSION
15
              Claim preclusion "prevents relitigating of the same cause of action in a second suit
16

17     between the same parties or parties in privity with them." DKN Holdings LLC v. Wade Farber
18     189 Cal.Rptr.3d 809, 825. (Mycogen Corporation v. Monsanto Company 28 Cal.4th 888, 896
19
       (2002).) Claim preclusion arises if a second suit involves (1) the same cause of action (2)
20
       between the same parties (3) after a final judgment on the merits in the first suit. (Ibid.; In re
21

22     Crow (1971) 4 Cal.3d 613, 622 [94 Cal.Rptr. 254, 483 P.2d 1206]; Teitelbaum Furs, supra, 58

23     Cal.2d at p. 604.)
24
              Here, each element is not present. First, the causes of action are not the same; Second, the
25
       parties are not the same; Third, there is not a final judgment on the merits in the first suit.
26

27

28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1            Defendants, also, rely on Slather v. Blackwood, 15 Cal.3d 791, 795 (1975) for the
 2
       proposition that “In California, ‘A valid final judgment on the merits in favor of a defendant
 3
       serves as a complete bar to further litigation on the same cause of action.’” However, there is no
 4

 5
       final judgment on the merits in favor of a defendant in this case. First, there was never a fraud

 6     cause of action brought by any party in the prior lawsuit. Second, there was never a slander cause
 7     of action brought by any party in the prior lawsuit. Third, there was never a Breach of Contract
 8
       claim litigated on let alone, a final judgement on the merits in favor of any party. The only claim
 9
       a jury reached a verdict on against any of the Plaintiffs was a verdict in favor of Defendant
10

11     Plesha, an Individual on the breach of settlement agreement against Richard Blech, an

12     Individual. (Exhibit A Page 1-3) Also, conversely, the Jury reached a verdict in favor of
13
       Defendant, Secure Channels, Inc., a California Corporation in the same state court case. (Exhibit
14
       A Page 2 Line 22). Additionally, the parties are different because Antonelli Wozny Plesha &
15
       Campa, LLC, a Florida Limited Liability Company was not a party to the prior lawsuit. (Adrian
16

17     Plesha v. Secure Channels, Inc. & Richard Blech, Orange County Superior Court Case: 30-
18     2016-00831590-CU-BC-CJC.) For all of those reasons this lawsuit is not barred by res judicata.
19
              In addition, Defendants rely on Mycogen Corp. v. Monsanto Co., 123 Cal.Rptr.2d 432,
20
       444, 51 P. 3d 397 (2002) for the proposition that even where there are multiple legal theories
21

22     upon which recovery might be predicated, one injury give rise to only one claim for relief.

23     However, Defendants confuse the injury to which Plaintiffs base their FAC. The FAC complaint
24
       is based on specific facts that occurred before the alleged settlement agreement was entered into.
25
       Each cause of action in the FAC does not implicate the settlement agreement. In fact, most if not
26
       all of the fraud had already been uncovered prior to the alleged execution of the settlement
27

28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

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 1   agreement. (Adrian Plesha v. Secure Channels, Inc. & Richard Blech, Orange County Superior
 2
     Court Case: 30-2016-00831590-CU-BC-CJC). A Jury reached a verdict deciding only the cause
 3
     of action for Breach of the Settlement Agreement with respect to Secure Channels, Inc. a
 4

 5
     California Corporation and Richard Blech, an Individual. Mr. Plesha decided against allowing

 6   the jury to decide the breach of contract cause of action in his complaint. The jury did not decide
 7   the validity of the underlying alleged contract and fraudulent conduct. The Jury Verdict did not
 8
     address the same injury that the Plaintiffs FAC alleges. The FAC deals with the harm that
 9
     occurred prior to the alleged execution of the settlement agreement. Therefore, the injury in the
10

11   FAC were not actually litigated and determined in the first action. Thus, res judicata does not

12   apply to this case. In addition, the Jury rendered their verdict on November 2, 2017, while this
13
     lawsuit was filed on August 6, 2017 long before the previous lawsuit’s verdict was entered.
14
     Therefore, no final judgment had been entered at the time of filing this lawsuit and all the case
15
     cited by Defendants do not apply to this fact pattern. Additionally, no final judgement has been
16

17   entered as of the date of filing this opposition.
18          F. THIS LAWSUIT IS NOT BARRED BY ISSUE PRECLUSION OR
19
     COLLATERAL ESTOPPEL
20
            Issue preclusion or collateral estoppel are quite different from res judicata or claim
21

22   preclusion. Issue preclusion prohibits the relitigating of issues argued and decided in a previous

23   case, even if the second suit raises different causes of action. DKN Holdings LLC v. Wade
24
     Farber 189 Cal.Rptr.3d 809, 824. (Mycogen, supra, 28 Cal.4th at p. 896.) Under issue
25
     preclusion, the prior judgment conclusively resolves an issue actually litigated and determined in
26
     the first action. DKN Holdings LLC v. Wade Farber 189 Cal.Rptr.3d 809, 824. (Boeken, supra,
27

28               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1   48 Cal.4th at p. 797.) There is a limit to the reach of issue preclusion, however. In accordance
 2
     with due process, it can be asserted only against a party to the first lawsuit, or one in privity with
 3
     a party. DKN Holdings LLC v. Wade Farber 189 Cal.Rptr.3d 809, 825. Issue preclusion differs
 4

 5
     from claim preclusion in two ways. First, issue preclusion does not bar entire causes of action.

 6   Instead, it prevents relitigating previously decided issues. Second, unlike claim preclusion, issue
 7   preclusion can be raised by one who was not a party or privy in the first suit. Id at 824-825.
 8
     "Only the party against whom the doctrine is invoked must be bound by the prior proceeding. In
 9
     summary, issue preclusion applies (1) after final adjudication (2) of an identical issue (3) actually
10

11   litigated and necessarily decided in the first suit and (4) asserted against one who was a party in

12   the first suit or one in privity with that party. (Lucido v. Superior Court (1990) 51 Cal.3d 335,
13
     341 [272 Cal.Rptr. 767, 795 P.2d 1223]; Vandenberg, at p. 828; Teitelbaum Furs, supra, 58
14
     Cal.2d at p. 604.)
15
            Here, the issue of fraud prior to the settlement agreement was not litigated. Additionally,
16

17   the cause of action of slander was never litigated. Also, Antonelli Wozny Plesha & Campa LLC
18   was not a party to the prior lawsuit. Therefore, collateral estoppel or claim preclusion does not
19
     bar the Plaintiffs’ FAC.
20
            G. FRCP 13(a) DOES NOT APPLY IN THIS CASE BECAUSE THE COURT
21

22   SHOULD APPLY CCCP § 426.30 WHICH CLEARLY ESTABLISHES THAT THIS

23   CASE WAS NOT A COMPULSORY COUNTERCLAIM AT THE TIME OF FILING
24
     THIS LAWSUIT
25
            Under Migra v. Warren City School District Board of Education et al., 465 U.S. 75, 85
26
     (1984) the Court held that a “petitioner’s state-court judgment in this litigation has the same
27

28               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1   claim preclusive effect in federal court that the judgment would have in Ohio state courts.” Also,
 2
     that “preclusion must be determined under state law, even if there would be preclusion under
 3
     federal standards.” Id. at 85. Further, the Court went on to state that “In Union & Planters’ Bank
 4

 5
     v. Memphis, 189 U.S. 71,75 (1903) this Court held that a federal court ‘can accord [a state

 6   judgment] no greater efficacy’ than would the judgment-rendering State.” Additionally, “that
 7   holding has been adhered to on at least three occasions since that time. Oklahoma Packing Co.
 8
     v. Oklahoma Gas & Electric Co., 309 U. S. 4, 7-8 (1940); Wright v. Georgia Railroad &
 9
     Banking Co., 216 U. S. 420, 429 (1910); City of Covington v. First National Bank, 198 U. S.
10

11   100, 107-109 (1905).” “The Court is thus justified in this case to rule that preclusion must be

12   determined under state law, even if there would be preclusion under federal standards.” Migra v.
13
     Warren City School District Board of Education et al.,465 U.S. 75, 88 (1984).
14
            Therefore, the relevant statute is California Code of Civil Procedure § 426.30:
15
                       426.30. (a) Except as otherwise provided by statute, if a party
16
                   against whom a complaint has been filed and served fails to allege in
17                  a cross-complaint any related cause of action which (at the time of
                      serving his answer to the complaint) he has against the plaintiff,
18                  such party may not thereafter in any other action assert against the
19
                              plaintiff the related cause of action not pleaded.
                        (b) This section does not apply if either of the following are
20                                                established:
                         (1) The court in which the action is pending does not have
21                  jurisdiction to render a personal judgment against the person who
22                               failed to plead the related cause of action.
                     (2) The person who failed to plead the related cause of action did
23                            not file an answer to the complaint against him.
24
            The FAC was filed on August 6, 2017. Secure Channels Inc., a California Corporation
25
     and Richard Blech, an Individual filed and served Answer to the Complaint on October 24, 2017.
26
     In addition, an Answer was never filed by Secure Channels Inc., a Delaware Corporation. Thus,
27

28               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

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 1   looking at the plain language of the statute if a party fails to allege in a cross-complaint at the
 2
     time of serving his answer a party may not thereafter bring in another action in a related cause of
 3
     action. Accordingly, no action could have been brought after October 24, 2017 on behalf of
 4

 5
     Secure Channels, Inc. a California Corporation and Richard Blech, an Individual.

 6          Here, if claim preclusion occurred it occurred on October 24, 2017 at the time the
 7   Answer to the Complaint in the State court case was served. Therefore, because this case was
 8
     filed on August 6, 2017 no claim preclusion could have occurred because no answer was served
 9
     on August 6, 2017. In addition, California Code of Civil Procedure § 426.30 (b)(2) specifically
10

11   excludes claim preclusion when “[t]he person who failed to plead the related cause of action did

12   not serve an answer to the complaint against him.” CCP § 426.30 (b)(2). Thus, at the time of
13
     filing this FAC there was no claim preclusion against Secure Channels, Inc., a California
14
     Corporation and Richard Blech, an Individual because no Answer to the Complaint had been
15
     filed on August 6, 2017.
16

17          The Defendants rely on Transamerica Occidental Life Ins. V. Aviation Office of Am., 292,
18   F.3d 384, 389 (3d Cir. 2002) for the proposition that FRCP 13(a) makes this case a compulsory
19
     counterclaim. However, Defendants misapply the facts and holding in that case. In that case the
20
     lawsuit was filed in a Texas state court. However, the suit was properly removed to the Federal
21

22   District Court in Texas. Instead of filing an answer or counterclaim the Defendants filed another

23   case in another Federal District Court in New Jersey. Therefore, that case involved (2) Federal
24
     District Courts and FRCP 13(a) was correctly applied. Contrastingly, in this case there was a
25
     California state court case and a Federal District court case. Therefore, Defendants incorrectly
26

27

28               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                       13
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 1   applied FRCP 13(a) instead of CCCP §426.30 which is the correct law to apply if there is a
 2
     California state case involved, not (2) Federal court cases.
 3
             H. THE STATE-COURT VERDICT SHOULD NOT BAR THIS LAWSUIT
 4

 5
             Defendants content that the court should recognize a state court verdict and dismiss this

 6   lawsuit. Defendants provide no evidentiary support for that proposition even if it was true.
 7   However, once again Defendants attempt to mislead the court and state that “Blech made all his
 8
     instant claims in the state court suit . . .but the jury disagreed with Blech, and determined that
 9
     Blech owed Plesha for damages. (Defendants Points and Authorities in Support of Motion to
10

11   Dismiss Plaintiff’s Complaint Pursuant to FRCP(12)(B)(6) Page 6 Line 6-9). The jury actually

12   found for Secure Channels, Inc., a California Corporation rendering a verdict for that defendant.
13
     In addition, while the Jury did award Plesha damages of $3,230.00 against Blech, Plesha
14
     demanded $79,000 in damages. (Exhibit A Page 2 Line 22) (Exhibit A Page 3 Line 26).
15
     Additionally, none of the Defendants in the prior state court trial made any claims that are being
16

17   litigated in this lawsuit. Also, Antonelli, Wozny, Plesha & Campa LLC was not even a party to
18   the prior state court case.
19
             I. THE COURT SHOULD BE AWARE OF THE FALSE STATEMENTS OF
20
     FACT IN DEFENDANTS MOTION AND NOTICE OF MOTION AND POINTS AND
21

22   AUTHORITIES IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

23           Defendants attempt to mislead the Court because the jury in prior trial found that there
24
     was not a settlement agreement entered into between Secure Channels, Inc., a California
25
     Corporation and Plesha and thus verdict for that Defendant. (Exhibit A Page 2 Line 22). In
26
     addition, although the jury awarded Plesha $3,230 against Richard Blech, Plesha had been
27

28               PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                      14
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 1   seeking $79,000 in damages. Also, Judge Marks refused to grant the Default Judgement in a
 2
     prove up hearing against Secure Channels, Inc. a Delaware Corporation immediately after the
 3
     Jury Trial.
 4

 5
            Defendants attempt to influence the Court with unfounded allegations which have no

 6   place or bearing on a 12(b)(6) Motion to Dismiss. For example, “Blech owes at least four other
 7   professionals money, some of whom have sued him.” (Defendants Points and Authorities in
 8
     Support of Motion to Dismiss Plaintiff’s Complaint Pursuant to FRCP(12)(B)(6) Page 3 Line 4-
 9
     5.) The material allegations in this case were not ruled on at all in Adrian Plesha v. Secure
10

11   Channels, Inc. & Richard Blech, Orange County Superior Court Case: 30-2016-00831590-CU-

12   BC-CJC. There only thing that was ruled on was the issue of whether there was an enforceable
13
     settlement agreement. In addition, the Notice of Motion and Motion to Dismiss Plaintiff’s
14
     Complaint Pursuant to FRCP 12(B)(6) the Defendants state that Plaintiffs’ counsel has failed to
15
     respond to multiple attempts to schedule such conference.” Plaintiffs’ counsel never received any
16

17   communication except for the motion and amended motion by U.S. mail. Upon information and
18   belief Plaintiffs have never made any attempts to contact Plaintiffs’ counsel.
19
            J. DEFENDANTS REQUEST FOR FEES SHOULD BE DENIED
20
            Defendants request fees of $3,500 without providing any statutory basis for the award of
21

22   fees in preparing this motion. Defendants declaration or pleading does not address the basis of

23   the fees. Therefore, the Court should deny this request for fees.
24
                                            III. CONCLUSION
25
            For the foregoing reasons, Plaintiffs respectfully requests that the Court deny Defendants’
26
     motion to dismiss the First Amended Complaint.
27

28                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN OPPOSITION TO

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FRCP 12(B)(6)

                                                     15
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                                     Exhibit A-1
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                                      Exhibit A-2
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                                    Exhibit A-3
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                                          Exhibit A-4
